  Case 21-03003-sgj Doc 24 Filed 04/19/21         Entered 04/19/21 17:07:42        Page 1 of 2




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                             §                               Case No. 19-34054-SGJ-11
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §                               Chapter 11
                                   §
    Debtor.                        §
                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
                                   §
v.                                 §
                                   §                               Adversary No.: 21-03003
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

                  ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that, pursuant to Rule 9010(b), Fed. R. Bankr. P., Deborah

Deitsch-Perez of Stinson LLP hereby enters her appearance in the above-styled case on behalf of

Defendant James Dondero, and, pursuant to Rules 2002 and 9007, Fed. R. Bankr. P., request that

all notices and pleadings given or required to be served in these proceedings be served upon the

undersigned at the postal and email addresses, telephone, and telecopy numbers listed below.

         PLEASE TAKE FURTHER NOTICE that the foregoing request includes notices and

pleadings referred to in the Federal Rules of Bankruptcy Procedure and any applicable local rules,

and additionally includes, without limitation and where applicable, any application, complaint,


                                              -1-
CORE/3522697.0002/166300352.3
  Case 21-03003-sgj Doc 24 Filed 04/19/21             Entered 04/19/21 17:07:42         Page 2 of 2




demand, notice of hearing, motion, objection, plan, disclosure statement, pleading, or request,

formal or informal, whether transmitted or conveyed by mail, email, telecopy or otherwise.

This notice and any subsequent appearance, pleading, claim, or suit shall not operate to waive any

right of James Dondero to withhold consent to entry of final judgments by the Bankruptcy Court

in particular proceedings in the captioned cases, have final orders in non-core matters entered only

after de novo review by a District Court judge, withdraw the reference of any such proceedings to

the District Court, seek trial by jury in any such proceedings, or assert other rights, claims, actions,

defenses, setoffs, or recoupments to which James Dondero is or may be entitled under agreements,

in law, or in equity, including any defenses as to jurisdiction, all of which rights, claims, actions,

defenses, setoffs, and recoupments expressly are hereby reserved.


                                                        Respectfully submitted,

                                                        STINSON LLP

                                                        By: /s/ Deborah Deitsch-Perez
                                                           Deborah Deitsch-Perez
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                                                        ATTORNEYS FOR
                                                        DEFENDANT JAMES DONDERO

                                  CERTIFICATE OF SERVICE

       I certify that on April 19, 2021, a true and correct copy of the foregoing document was
served on all counsel of record via the Court’s electronic filing system.

                                                          /s/ Deborah Deitsch-Perez
                                                          Deborah Deitsch-Perez



                                                 -2-
CORE/3522697.0002/166300352.3
